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EXhibit B

Case 2:12-cv-O2837-SH|\/|-ch Document1-3 Filed 09/24/12 Page 2 of 32 Page|D 10

(ClRCU|'|’/CHANCERV) COURT OF TENNESSEE
140 ADAMS AVENUE, MEMPHIS, TENNESSEE 38103
FOR THE TH|RTIETH JUDIC|AL Dl$TRlCT AT MEMPH|S

 

 

 

 

 

 

 

 

 

 

 

 

SUMMONS lN ClVlL ACT|ON

C'~ Lawsuit
Docker No. C i~¥ - iZ» i5 55"'/ (`, Divo;¢e Ad Darnnum $
TAN\'A GlLBERT NAT]ONW!DE MUTUAL lNSURANCE COMPANY

VS
Plaintiff(s) Defendant(s)

TO: (Name and Address of Defendant (One defendant per summons)) Method of Servlce:
NAnoniDE MuTuAL iNsuRANcE cowva who can be served through the coMMrSSiONER oF CY Ce"i*""~’d Ma"
iNSURANCE Cf Sheiby County Sheriff

,¥Commlssloner of insurance ($)
C; Secretary of State ($)

(_`r Other TN County Sherlff ($)
C; Prlvate Process Server
(,`10ther

 

 

 

 

 

 

(S) Atrach Required Fees

Vou are hereby summoned and required to defend a civil action by filing your answer with the C|erk of the Court and ‘ l

ser vii ig a copy ofyour answer to the Compiaint on Nicole Davlson / Law Off`ices of Baiiey & Greer P|Bintli‘f'$
women whose address is 6256 Pop\ar Avenue, Memphis, TN 38119 _ f ,fei€phone +1 (901) 6809777
within THiRTV (30) DAVS after this summons has been se ed up- - - " ._ ~' [‘~,",,'ng iFie day of service. you l to 0 so, a
judgment by default may be taken against you for the re ef - .' `

!'

 

  
 

 

ro ciaim as exempt with the Cierk of the Court. The fist may be filed at anytime and may be changed by you thereafter as necessary; however, uniess
it is fried before the judgment becomes Hnai, it wiii not be effective as to any execution or garnishment issued prior to me ming of the iist. Ceri'a¢'n
items are automatically exempt by iaw and do not need to be iisted, i'hese indude items of necessary wearing apparei icfotbmg) for yourseif and
your iamst and trunks or other receptacies necessary to contain such apparel faméiy portraits, the famiiy Sib¢e and schooi books. Si'xouid any of
these items be seized you would have the right to recover them if you do not understand your exemption right or how to exercise it, you may wrsh
to :eek the counse¢ of a iawyer_

FOR AMERICANS WITH DiSABiLiTIES ACT (ADA) ASS|STANCE QM_L CALL (901) 379~7895

i/ JiMMY MOORE / DONNA RUSSELL , Cierk of the Court,
Sheiby County, Tennessee, certify this to be a true and
accurate copy as f`ried this

 

}iMMY MOORE , Cierk/ OONNA RU§SELL, Cierk and Master

31 t W D,C.

 

Case 2:12-cv-O2837-SH|\/|-ch Document1-3 Filed 09/24/12 Page 3 of 32 Page|D 11

lN THE CHANCERY COURT OF SHELBY COUNTY
FOR THE THIR'I`IETH JUDICIAL DIS'I`RICT, AT

 

 

 

'l`ANYA GILBERT,
DONNA L. RUSSELL, C & M

Plaintiff, ` T\ME; BY~

v. . DocketNo.( H’ l 23a/33 "/

NA'I'IONWIDE MUTUAL INSURANCE
COMPANY,

 

 

 

 

Defendant.

 

COMPLAINT

 

To the Chancellors of the Chancery Court for the Thirtieth Judicial District:

q COMES NOW the Plaintiff, by and through the undersigned attorneys and for cause of action
against the Defendant, would respectfully show and state to the Court as follows:
JURISDICTION AND VENUE

l. PlajntiffTanya K. Gilbert is an adult resident ofFayette County, Tennessee, residing
therein at 325 Lakewood Drive, Oakland, Tennessee 38060.

2. Upon information and bclief, Defendant Nationwide Mutual lnsurance Company
(hereinafter referred to as Nationwide) is an Ohio corporation licensed to do business and doing
business in Memphis, Siielby County, 'I`ennesseer Pursuantto l`.C.A. § 56-2-50l erseq., Nationwide
may be served by service on the commissioner of the department of commerce and insurance At
all times material hereto, Nationwide provided uninsured/underinsured motorist coverage to the
Plaintiff.

3A Venue is proper in Shelby County, Tennessee as all of the wrongs aileged herein

occurred in Shelby County, 'l`cnnessee, within the applicable statute of limitations and this Court

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has jurisdiction
EAH§

4. Plaintiff was involved in an automobile accident on March 6, 201 l at approximately
6:45 a.m. near the intersection of North Parkway and Dunlap Street in Memphis, Shelby County,
Tennessee with a vehicle being driven by Karen P. Nellis (“Nellis”). At the time of the accident, Ms.
Nellis was an underinsured motorist and only had $50,000 of insurance covering her automobile.

5 . The accident was proximately caused by the negligence of Ms. Nellis, and Plaintiff
was not at fault for causing the accident The facts of the accident reveal that Plaintiff was operating
her 2006 Nissan Altima eastbound on North Parkway while Ms. Nellis was operating her 2005 F ord
Explorer SUV westbound on North Parkway when Ms. Nellis decided to make a left hand turn onto
southbound Dunlap Street, colliding with Plaintift’ s vehicle on the front passenger side. Ms. Nellis
was cited for Failure to Maintain Safe Lookout by the police officer who responded to the collision,
citation No. M096840.

6. As a direct and proximate result of said collision, which occurred due to the negligent
acts or omissions of Ms. Nellis, Plaintiff sustained severe and permanent injuries.

7. Prior to the accident of March 6, 2011, Nationwide issued a policy of insurance to
Plaintiff which provided uninsured/underinsured motorist coverage and which was in full force and
effect at all times materiai hereto The policy had uninsured/underinsured motorist limits of
3100,000.00 per person and 3300,000.00 per accident 'I`he policy included 325,000 of Medical
Payment coverage which would reduce the policy limits by the amount paid.

8. Via a letter dated March lO, 201 1, Nationwide Was put on notice that Piaintiff had

retained counsel to represent her regarding the March 6, 201 l collision

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9. 'l`hree months later, on June 15,' 201 1, Nationwide sent a letter to Plaintifi"s counsel,
acknowledging counsel’s representation of Plaintiff.

10. As the Plaintiff was the insured/covered person under the policy of insurance issued
by Nationwide, Nationwide had a continuing duty to deal with her fairly and in good faith and to
attempt to resolve her claims without unnecessarily delaying or increasing the costs of litigation.

11. On October 13, 2011, Ms. Nellis’ insurance carrier offered its policy limits of
$50,000.00.

12. On October 13, 2011, Plaintifi’s counsel sent a letter to Nationwide confirming a
prior telephone conversation wherein Plaintiff’s counsel informed Nationwide that Ms. Nellis’
insurance carrier offered its policy limits of $50,000.00.

13. ln the October 13, 2011 letter, Plaintiff demanded the available insurance coverage
from Nationwide, the policy limits of $50,000.00.

14. On October 18, 2011, Plaintiff’s counsel sent a letter to Nationwide stating that
Plaintiff wanted to accept Ms. Nellis’ insurance canier’s offer of its policy limits of $50,000.00.

15. On November 21, 2011, Ms. Nellis’ insurance carrier sent a letter to Nationwide,
attaching the declaration page from the policy and informing Nationwide that it had extended an
offer of its policy limits of S50,000 to the Plaintiff.

16. On December 14, 2011, after Plaintift"’s offer of Nationwide’s policy limits of
550,000 was rejected, Plaintiff made a counter-offer of 345,€)00 to try and get the matter settled `l`he
adjuster countered with an offer of $25,000 and then failed to take any action for another month.

l7. On December 20, 201 1, Ms. Nellis’ insurance carrier sent a letter to Nationwide,

informing Nationwide that it had tendered its full policy limits to the Plaintiff in return for a full

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release, and it asked Nationwide to waive its subrogation rights against Ms. Nellis and allow Plaintiff
to execute the release and accept the policy limits in settlement of her claim against Ms. Nellis,

1 8. Despite the fact the Nationwide knew on or before October 13, 201 1 that Ms. Nellis’
insurance carrier was offering its policy limits, Nationwide did not waive subrogation against Ms.
Nellis and allow Plaintiff to settle with Ms. Nellis’ insurance carrier until three months later, on
January 18, 2012. Plaintiff signed the release on January 26, 2012.

19. In a letter dated January 11, 2012, Plaintiff again demanded tender of policy limits.

20, On January 20, 2012, Plaintiff received a letter from Forrest Jenkins, informing
Plaintiff he would be handling Nationwide’s defense

21, On February 22, 2012, the Plaintiff filed a cause of action against Ms. Nellis and her
husband in the Circuit Court of Shelby County, Tennessee, Docket # 000772-12, Division l. The
Complaint alleged that Ms. Nellis was negligent and that her negligence caused severe and
permanent injuries to the Plaintiff. The Complaint sought damages against Ms. Nellis in the amount
of Three Hundred Thousand Dollars ($ 300,000.00) for Plaintiff’ s injuries. Pursuant to T.C.A. § 56-
7-1206, Plaintiff caused a copy of the Complaint to be served upon unnamed Defendant Nationwide.

22. Plaintiff filed the complaint against Ms. Nellis to preserve Plaintist rights because
the statute of limitations on Plaintiff’s claim was going to run on March 6, 2012. Plaintiff was
forced to incur the unnecessary time and expense of filing a complaint and discovery because
Nationwide had not signed a tolling agreement4

23. On March 13, 2012, Nationwide confirmed via email that it would not agree to any
of the medical bills Plaintiffincurred, that it would not agree to accept service of the complaint, and

that it would not stipulate as to liability

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24. Letters were sent to Nationwide on Januaryl l, 2012, March 6, 2012, and March 13,
2012, expressing frustration with the manner in which Nationwide was handling Plaintiff's case and
reminding Nationwide of its duty of good faith and fair dealing that was owed to its insured.

25. On April 9, 2012, Nationwide finally offered to pay the $25,000 Medical Payment
coverage portion of Plaintift’s policy, after misrepresenting that this payment had been offered
before, and on May 1, 2012, Nationwide paid the Medical Payment coverage

26. Because Nationwide would not stipulate to all of the medical bills, Plaintiff incurred
the expense of preparing and collecting medical proof. The deposition of Dr. Matthew Smolin was
taken on May 25, 2012. The deposition of Dr. Dale Cn`ner was set up, and Dr. Criner had already
put in work reviewing records and preparing for the deposition before it was cancelled

27. The depositions of Plaintiff and Ms. Nellis were taken because Nationwide would not
stipulate as to liability, again causing further expense and delay.

28. In an effort to avoid or minimize its liability under its contract of insurance with the
Plaintiff and in dereliction of its duty to handle this claim in good faith, Nationwide filed an Answer
to the Plaintiff’s Complaint on May 4, 2012 which intentionally and/or fraudulently denied liability
due to insufficient knowledge or information, despite the fact that Ms. Nellis turned left in front of
Plaintiff and was cited for failure to maintain a safe lookout and despite the fact that the accident
occurred over a year ago, allowing Nationwide ample time to investigate The Plaintiff asserts that
at the time this allegation was made in the Answer, Nationwide did not have a factual basis for
making this allegation Further, the Plaintiff alleges that the placement of this allegation in the
Answer was an act of bad faith designed solely to attempt to minimize and/or avoid Nationwide’s

liability for payment of this claim under the policy.

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29. in an e&`ort to avoid or minimize its liability under its contract of insurance with the
Plaintifi` and in dereliction of its duty to handle this claim in good faith, Nationwide filed an Answer
to the Plaintiff’s Complaint on May 4, 2012, which intentionally and/or fraudulently denied that
Plaintiff sustained the injuries set forth in the Complaint due to insufficient knowledge or
information, despite the fact that the accident occurred over a year ago, allowing Nationwide ample
time to investigate The Plaintiff asserts that at the time this allegation was made in the Answer,
Nationwide did not have a factual basis for making this allegation Further, the Plaintiti` alleges that
the placement of this allegation in the Answer was an act of bad faith designed solely to attempt to
minimize and/or avoid Nationwide’s liability for payment of this claim under the policy.

30. After much expense and delay, the matter was arbitrated on May 29, 20!2. On June
13, 2012, the arbitrator issued her decision, finding Ms. Nellis to be 100% at fault for the collision
and awarding Plaintiff: (l) $55,764.70 in medical bills; (2) $3,957. 10 in lost wages; (3) $65,000 for
pain and suffering; and (4) $12,000 for loss of enjoyment of life.

31. During the course of this litigation, Nationwide was provided information from health
care providers which indicated that Plaintiff sustained severe injuries as a result of the accident . As
a result of the injuries she sustained, Plaintiff has suffered significant damages which include, but
are not limited to, emotional and physical pain and suffering, medical bills and costs, and the loss
of enjoyment of life. iiowever, Nationwide failed to make any reasonable attempts to settle this
action under her primary uninsured/underinsured motorist insurance policy with limits of
5100,000.00. The Plaintiff submits that, as proven by the arbitration award, any good faith
evaluation of this claim would have indicated that the claim was worth substantially more than the

policy limits afforded to the Plaintiff by Nationwide and that Nationwide’s intentional and/or

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reckless failure to offer and pay policy limits in this action constituted bad faith.

32. Despite learning of Plaintiff's injuries, Nationwide engaged in a course of conduct
designed to deny and delay payment and hinder the resolution of this matter. The Plaintiff submits
that Nationwide’s intentional and/or reckless attempts to deny and delay the proceedings constitute
bad faith.

33. Despite learning of Plaintift’s injuries, Nationwide failed to properly evaluate the
claim. The Plaintiff submits that Nationwide’s intentional and/or reckless failure to properly
evaluate the claim constitutes bad faith.

34. Despite learning of Plaintift’s injuries, Nationwide made all efforts to avoid
obtaining information regarding Plaintiff’s injuries The Plaintiff submits that Nationwide’s
intentional and/or reckless efforts to avoid obtaining information regarding Plaintiff’s injuries
constitutes bad faith.

35. Other examples of Nationwide’s bad faith include, but are not limited to, the
following: (l) failure to respond to letters, emails, offers of settlement, and other correspondence;
(2) failure to acknowledge the case as one of clear liability; (3) failure to investigate the case; (4)
failure to properly value the necessary and reasonable treatment of Plaintiff; (5) concerted efforts to
stonewall and thwart any progress that would move the case towards a resolution; (6) failure to
promptly select an arbitrator or arbitration date; (7) refusal of jenkins to accept service on behalf of
Nationwide; (8) delay in executing a tolling agreement despite the looming statute of limitations
deadline; (9) initial failure to stipulate to gr_iy medical bills Plaintiff incurred; ( l 0) failure to stipulate
to all medical bills; (l l) refusing to acknowledge the diagnostic procedures performed; (12) forcing

Plaintiff to incur the expense and delay of taking medical proof; (13) failure to provide any factual

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basis for denying liability; (14) failure to respond to requests to provide the names of any fact
witnesses testifying that the car accident was not Ms. Nellis’ fault; (15) the suggestion that
Nationwide only provide discovery information one week before the date of the arbitration; (16)
misrepresentations regarding prior settlement offers; and (17) production of Plaintift’s recorded
statement to Nationwide five days before the arbitration

36. Plaintifl` requested to settle this case with Nationwide for policy limits more than sixty
days prior to the filing of this Complaint. However, Nationwide failed to take reasonable and good
faith steps to evaluate and settle this action The Plaintiffs allege that Nationwide’s failure to tender
policy limits on the uninsured/underinsured insurance policy constitutes bad faith.

37. As Nationwide refused to offer Plaintiff policy limits under its insurance policy to
settle Plaintiff s claims, the Plaintiff has had to continue litigating this matter at great expense and'
effort which has caused the P laintiff to suffer economically and emotional ly. The Plaintiff avers that
Nationwide’s refusal to attempt to settle this matter within the terms of the policy constitutes an act
of bad faith.

38. Upon information and belief, the Plaintiff avers that Nationwide’s bad faith conduct
in this action is not isolated, but part of the common policies, practices, and customs of Nationwide
in adjusting and evaluating claims in a manner to deny and delay payment of legitimate claims and
unnecessarily increase the costs of litigation llan information and belief, the Plaintiff avers that
Nationwide has been subjected to similar claims in the past but has refused to change its policy to
conform to its duty to handle claims in good faith.

39. As a result of Nationwide’s affirmative misconduct and bad faith, the Plaintiff has

endured emotional pain and suffering, economic loss, and the loss of use of funds which were

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required to be paid under the terms of the policy issued by Nationwide,
MA_BIL.!I_Y_

The Plaintiff incorporates by reference as if Billy set forth verbatim each and every allegation

of this Complaint
COUNT l - BREACH OF CON'I'RACT

The Pla.intiff incorporates by reference as if fully set forth verbatim each and every allegation
of this Complaint

40. Nationwide, as the Plaintifi’ s uninsured/underinsured motorist carrier, has a
contractual duty of dealing with its insured fairly and in good faith in handling claims made by its
insured under the uninsured/underinsured motorist provision of the automobile liability insurance
contract. l

41. Nationwide has not dealt with its insured fairly and in good faith in handling claims
made by its insured, the Plaintiff, under the aforementioned insurance policy.

42. Plaintiff has been damaged as a direct and proximate result of Nationwide’s breach
of contract and is entitled to incidental and consequential damages resulting from said breach.

COUNT 2 - STATUTORY BAD FAITH

The Plaintiff incorporates by reference as if iiilly set forth verbatim each and every allegation
of this Complaint

43. Nationwide, as the Plaintift` s uninsured/underinsured motorist cam'er, has a duty of
dealing with its insured fairly and in good faith in handling claims for a loss made by its insured
under the uninsured/underinsured motorist provision of the automobile liability insurance contract

44. Nationwide refused to pay the Plaintiff’s loss within sixty days after a demand was

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made.

45. Nationwide’s refusal to pay the loss was not made in good faith and has inflicted
additional expense, loss, and injury upon the Plaintiff.

46. Plaintiff avers that Nationwide’s conduct as set forth herein constitutes bad faith
under T.C.A. § 56-7-105, entitling the Plaintiff to all applicable bad faith penalties, as well as
recovery for attomey’s fees and any additional expenses and injuries resulting from Nationwide’s
bad faith failure to timely pay the claim.

COUNT 3 - COMMON LAW BAD FAITH

The PlaintiH` incorporates by reference as if fully set forth verbatim each and every allegation
of this Complaint

47. Nationwide, as the Plaintiff’s uninsured/underinsured motorist 'carrier, has a duty of
dealing with its insured fairly and in good faith in handling claims made by its insured under the
uninsured/underinsured motorist provision of the automobile liability insurance contract

48. The violation of its duty to deal with the Plaintiff fairly and in good faith subjects
Nationwide to liability for the extra-contractual tort of bad faith.

COUNT 4 ~ TENNESSEE CONSUMER PROTECTION ACT

The Plaintiff incorporates by reference as if fully set forth verbatim each and every allegation
of this Complaint

49. "llre Plaintiffis a “person” within the meaning of the Tennessee Consumer Protection
Act (“TCPA”), Tennessee Code Annotated § 47»18~101 et seq., and thus has standing to bring a
TCPA claim. A stated purpose of the Tennessee Consumer Protection Act is, “To protect consumers

and legitimate business enterprises from those who engage in unfair and deceptive acts or practices."

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50. The conduct of Nationwide alleged herein constitutes unfair and deceptive actions
sufficient to subject Nationwide to liability for violating the TCPA.

51. Nationwide’s deceptive acts or practices have caused the Plaintiff to suffer an
ascertainable loss as Plaintiff has not received full compensation for her injuries

52. 'l`he unfair and deceptive actions as set forth herein were performed knowingly and
willfully.

53. The Plaintiff is entitled to treble damages and attorney’s fees pursuant to by T.C.A.
§ 47-18-109.

COUNT 5 - PUNITIVE DAMAGES

'l`he plaintiff incorporates by reference as if fully set forth verbatim each and every allegation
of this Complaint. d

54. The Plaintiff avers that the conduct of Nationwide alleged herein was performed
intentionally, recklessly, fraudulently, and maliciously, entitling the Plaintiff to a substantial award
of punitive damages

PRAYERS FOR RELIEE

55. As a result of the Defendant’s affirmative misconduct, the Plaintiff has been
damaged The Plaintiff seeks to recover all damages to which she may be entitled under the law from
the Defendant, including, but not limited to, the following

a) Loss of use of funds due under the policy of insurance;
b) Ml applicable bad faith penalties;

c) Ernotional pain and suffering;
d) Statutory and discretionary costs;
e) Punitive damages;

f) l`reble damages;
g) Pre-Judgment lnterest;

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h) Post-Judgrnent Interest;

i) Incidental and consequential damages as a result of the Defendant’s breach of
contract including, but not limited to, attomeys’ fees and all other litigation expenses
in the underlying action; and

j) All such further relief, both general and specitic, to which she may be entitled under

the premises

56. WHEREFORE, PREMISES CONSIDERED, Plaintiff sues the Defendant and prays
for a judgment against the Defendant for compensatory damages in an amount considered fair and
reasonable by the trier of fact, not to exceed one million dollars ($1,000,000.00), and for all such
further relief, both general and specific, to which she may be entitled under the premises

57. WHEREFORE, PREMISES CONSIDERED, Plaintiff sues the Defendant for her
personal injuries and prays for a judgment against the Defendant for punitive and/or treble damages
in an amount considered fair and reasonable by the trier of fact, not to exceed one million dollars
($1,000,000.00), and for all such further relief, both general and specific, to which she may be

entitled under the premises

Respectfully submitted,

BAILEY & GREER, PLLC

dunn umw
R. Sadler Bailey (#l 1230)

loan zack (#26686)

Nicole Gibson Davison (#24442)

6256 Poplar Avenue

Memphis, TN 38119

Phone: (90l) 680-9777

Fax: (901) 680-0580

 

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IN 'l`HE CHANCERY COURT OF SHELBY COUNT %MSJXTD
FOR THE THlR"l`lETI-I JUDlCIAL DlS'I`RICT AT
lM:Plf\Uli 23 2012
Piaimifr, ' ` ' '“ ~

v. D’locl<etNoc}’ll /Zd/ZZS'_!

NATlONWlDE MUTUAL lNSURANCE COMPANY,

Defendant.

 

PLAIN'I'IFF’S FIRST SET OF REQUESTS FOR ADMISSIONS TO
DEFENDANT NATIONWIDE MUTUAL INSURANCE COMPANY

 

COMES NOW the Plaintiff, by and through the undersigned attorneys of record, and
pursuant to Tennessee Rule of Civil Procedure 136, and hereby propounds Plaintist First Set of
Requests for Adrnissions to Defendant Nationwi de Mutual lnsurance Company (hereinafter referred
to as “Nationwide”). Said Requests for Admissions shall be answered fully and separately under
oath within forty-five (45) days after the date of service thereof

REQQE§T NO. 1: Admit that Plaintiff suffered injuries as a result of the motor vehicle
accident on March 6, 2011.

AN§WEB:

R ( 1 ' . ' Admit that the arbitrator, home K. Ridder, foundthat all of Plaintiff"z
medical expenses, totaling 355,764. 70 ,were related to the motor vehicle accident on Marcli 6. 201 l

ANSWER:

REQUE_S_! NO. 32 Admit that in 201 l, no medical doctor told Nationwide that Plaintiff

did not suffer injuries on March 6, 201 l.

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AHMB;
REQ!JE§] EQ, 4: Admit that between lanuary 1, 2012 and May 29, 2012, no medical

doctor told Nationwide that Plaintiff did not suffer injuries on March 6, 201 1.

AN§WEB;

M_H_Q_.S_ Admit that diagnostic procedures are often performed after an accident
to ascertain the type of injury and/or the extent of an injury.

AE§WEB:

REQUE§ [ NO. 6: Admit that the performance of diagnostic procedures is reasonable
alter an accident to ascertain the type of injury and/or the extent of an injury.

AN_S_WER:

MEQ_,_'/_; Admit that Nationwide is the Plaintiff`s Uninsured/Underinsured
Motorist Carrier.

ANSWER:

REQUE§T NO. §: Admit that Nationwide policy number 63 41 D 041404 was in full
force and effect on March 6, 201 1.

ANSWER:

REQUES! NQ. Q: Admit that Plaimiff is an “insured” under the terms of Nationwide
policy number 63 41 D 041404.

A,N§WE§§;

MQ; Admit that Nationwide policy number 63 41 D 041404 provides
coverage to Plaintiff for claims arising out of the accident of Marcli 6, 2011 ,

ANSWER:

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MLQMQ_LL_ Admit that KarenP. Nellis is anUninsured/Underinstired Motorist as
defined by Nationwide policy number 63 41 D 041404.

3 N§WEB .

REQQE§[ NQ. 12: Admit that the limits of Uninsured/Underinsured Motorist coverage
available to the Plaintiff under Nationwide policy number 63 41 D 041404 is 3100,000.00 per
person

AN§WEB:

REQUE§T NO. 132 Admit that the limits of Uninsured/Underinsured Motorist coverage
available to the Plaintiff under Nationwide policy number 63 41 D 041404 is $300,000.00 per
accident.

' ANswER=

BEQ!.JE§! N§ !. 14; Admit that, as Plaintiff’s Uninsured/Underinsured Motorist Carrier,

Nationwide owes a duly of good faith to the Plaintiff.

AN§WER:

REQQE§T NO. 15: Admit that, as Plaintiff’s Uninsured/Underinsured Motorist Carrier,

Nationwide owes a duty of fair dealing to the Plaintiff.

A\I§WER:

R_ ES'I` N . 16: Admit that, as Plaintiff’s Uriinsured/Underinsured Motorist Carrier,
Nationwide has a duty to disclose to the Plaintiff all benefits that may apply to claims made by the
Plaintiff.

ANs`wr:R:

REQL)EST NO. l7: Admit that, as Plaintifi`s Uninsured/Underinsured Motorist Carrier,

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Nationwide has a duty to disclose to the Plaintiffs all coverages that may apply to claims made by
the Plaintiff.

AE§WER;

M§_]`__LM Admit that, as Plaintiff’s Uninsured/Underinsured Motorist Carrier,
Nationwide has a duty to disclose to the Plaintiff all time limits that may apply to claims made by
the Plaintiff.

AN§WER:

REQQEST NO. 192 Admit that, as Plaintifi’s Uninsuredenderinsured Motorist Carrier,
Nationwide has a duty to treat the Plaintifi’s interests with equal regard as it does its own interests

ANSWER:

REQUEST NO. 20; Admit that, as Plaintist Uninsured/Underinsured Motorist Carrier,
Nationwide has a duty to promptly investigate claims made by the Plaintiff.

ANSWEB:

REQUES'I` NO. 21: Admit that, as Plaintiff’s Uninsured/Underinsured Motorist Carrier,
Nationwide has a duty to thoroughly investigate claims made by the Plaintiff.

AN§WER:

REQ!J EST NO. 222 Admit that, as Plaintiff`s Uninsured/Underinsured Motorist Carrier,
Nationwide has a duty to objectively investigate claims made by the Plamtit`f.

AN§W§B:

REQUES[ NQ. 2§: Admit that, as Plaintist Uninsured/Underinsured Motorist Can'ier,
Nationwide has a duty to promptly retain independent experts to assist in the fair investigation of

claims made by the Plaintiff.

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AN§HEB;

W Admit that, as Plaintift`s Uninsured/Underinsured Motorist Carrier,
Nationwide has a duty to promptly retain qualified experts to assist inthe fair investigation of claims
made by the Plaintiff.

AU§MB.;

REQUEST N Q. 25: Admit that, as Plaintiff`s Uninsured/Underinsured Motorist Carrier,
Nationwide has aduty to promptly retain independent experts to assist in the reasonable investigation
of claims made by the Plaintiff.

ANSWER:

M__Zj_! Admit that, as Plaintiff‘ s Uninsuredenderinsured Motorist Carrier,
Nationwide has a duty to promptly retain qualified experts to assist in the reasonable investigation
of claims made by the Plaintiff.

ANSWER:

REQUEST NO. 27 : Admit that, as Plaintiffs Uninsuredenderinsured Motori st Carrier,
Nationwide has a duty to promptly retain independent experts to assist in the objective investigation
of claims made by the Plaintiff.

ANSWER:

REQLIE§§T N Q, 2§; Admit that, as Plaintiff`s Uninsured/Underinsured l\/iotorist Carrier,
Nationwide has a duty to promptly retain qualified experts to assist in the objective investigation
ofclaims made by the Plaintiff.

A d §W E§B ;

BEQUESL NO. 29: Admit that, as Plaintist Uninsuredenderinsured Motorist Carrier,

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Nationwide has a duty to promptly retain independent experts to assist in the prompt investigation
of claims made by the Plaintiff.

;A.IX§_!YEB;

BL§ZQE§[ lllO. 30: Admit that, as Plaintiff’s Uninsuredenderinsured Motorist Carrier,
Nationwide has a duty to promptly retain qualified experts to assist in the prompt investigation of

claims made by the Plaintiff.

Al‘l$_\_’V_ER;
_KEQQES[ NQ. 3 l: Admit that, as Plaintift`s Uninsured/Underinsured Motorist Carrier,

any failure by Nationwide to fairly investigate claims made by the i’laintiff does not permit
Nationwide to deny the claim due to lack of information

AN§MB;

REQQEST N§ l. 32: Admit that, as Plaintiff’s Uninsured/Underinsured Motorist Carrier,
any failure by Nationwide to reasonably investigate claims made by the Plaintiff does not permit
Nationwide to deny the claim due to lack of information

AN §WER:

REQUEST NO. 33: Admit that, as Plaintiffs Uninsured/Underinsured Motorist Carrier,
any failure by Nationwide to fairly investigate claims made by the Plaintiff does not permit
Nationwide to deny the claim due to one~sided information

AN§W§R;

UE T N . 34: Admit that, as Plaintiff’s Uninsured/Underinsured Motorist Carrier,
any failure by Nationwide to reasonably investigate claims made by the Plaintiff does not permit

Nationwide to deny the claim due to one-sided information

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AN §WEB;

BE_QLE_S_T__MS_ Admit that, as Plaintift’s Uninsuredenderinsured Motorist Carrier,
Nationwide may not ignore evidence that supports coverage for claims made by the Plaintiff.

A§SWEB;

BMB_O_.§§; Admit that, as Plaintiffs Uninsured/Underinsured Motorist Carrier,
in the event Nationwide ignores evidence that supports coverage for claims made by the Plaintiff,
Nationwide acts unreasonably towards the Plaintiff.

A‘l WE '

REQUEST NO. 372 Admit that, as Plaintifi’s Uninsured/Underinsured Motorist Carrier,
in the event Nationwide ignores evidence that supports coverage for claims made by the Plaintiff,
Nationwide breaches the duty of good faith it has to the Plaintiff.

ANSWER:

REQUEST NO. 382 Admit that, as Plaintiff’s Uninsured/Underinsured Motorist Carrier,
in the event Nationwide ignores evidence that supports coverage for claims made by the Plaintiff,
Nationwide breaches the duty of fair dealing it has to the Plaintiff.

ANSWER:

&EQUE§l N Q, ,‘§2: Admit that, as Plaintiff’s Uninsured/Underinsured Motorist Carrier,
Nationwide must fairly pay claims made by the Plaintiff if payment is warranted

A‘t W

BEQUEST NQ. 4§!: Admit that, as Plaintiff`s Uninsured/Underinsured Motorist Carrier,

Nationwide must reasonably pay claims made by the Plaintiff if payment is warranted

ANSWE;R:

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B,EQUE§T N Q, 4 l g Admit that, as Plaiiitist Uninsured/Unclerinsured Motorist Carrier,
Nationwide must promptly pay claims made by the Plaintiff if payment is warranted

AE§WER:

&EQUE§T EO. 42; Admit that, as Plaintist Uninsured/Underinsured Motorist Carrier,

Nationwide has a duty to pay claims made by the Plaintiff unless there is a good faith reason for not

doing so.

AU_§_W.EBL

REQ ll §§ l d § !. 4§; Admit that Nationwide did not make reasonable efforts to evaluate this
claim in 201 l.

AN§wEB;

REQ!J §§ l [§JQ. 44; Admit that Nationwide did not make reasonable efforts to evaluate this

claim between January 1, 2012 and May 29, 2012.

ANSWER:

RE QQE§l N Q, 4§; Admit that Nationwide did not make reasonable efforts to resolve this

claim in 201 l.

A[§SWE B;
BEQUE§l EQ. 4§: Admit that Nationwide did not make reasonable efforts to resolve this

claim between January 1,2012 and May 29, 20l2.

gm syy§g,-

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Respectfully submitted,

BAILEY & GREER, PLLC

\/Yltow Ms@a,\/t/)e»~
R. Sadler Bailey (#l 1230)
John M. Zuck (#26686)
Nicole Gibson Davison (#24442)
6256 Poplar Avenue
Mernphis, TN 38119
Phone: (901) 680-9777
Fax: (901) 680-0580

 

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INTHE CHANCERY COURT OF SHELBY COUNTY
FOR THE THIR'l`lETH JUDlClAL DlSTRICT, A'I`x

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4 AUG 23 2012
TANYA GILBF.RT, `§JONN

flU SELQ & M
. . TlME! BY:
Platntiff, L/
v. Docket No. jS ' l Z/jz%d/

NATIONWIDE MU'I`UAL INSURANCE COMPANY,

 

Defendant.

 

PLAINTIFF’S FIRST SE'I` OF INTERROGATORIES AND REQUES'I`
FOR PRODUCTION OF DOCUMENTS PROI’OUNDED TO DEFENDANT

 

COl\/IES NOW the Plaintiff, by and through the undersigned attorneys, and pursuant to y
Tennessee Rules of Civil Procedure 26, 33 and 34, and propounds the following Interrogatories and
Request for Production of Documents to Nationwide Mutual lnsurance Company (hereinafter
“Nationwide”) to be answered separately and fully under oath within FORTY~FIVE (45) days of
the date of service thereof Said lnterrogatories and Request for Production of Documents are
directed to the Defendant, but include inquiry regarding information within the knowledge of the
Defendant, its attorneys, employees, or anyone else acting on its behalf Purther, said Interrogatories
and Request for Production of Documents are to be considered continuing, requiring the
supplementation of an answer in the event new information is obtained by the Defendant, its
attorneys, employees, or any other persons acting on its behalf subsequent to the time the
Defendant’s original answers are served upon the Plaintiff.

DEFINITION§

As used in these interrogatories and Requests for Production of Documents served lierewith,
the following definitions and instructions shall apply

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[i]. As used herein, the terms “you,” “your,” or “yourself’ refer to the Defendant Nationwide,
and each agent, representative, attorney, or other person acting or purporting to act for said
Defendant.

[ii]. As used herein, the term "person" means any natural individual in any capacity
whatsoever or any entity or organization,' including divisions, departments, and other units
therein, and shall include, but not be limited to, a public or private corporation, partnership,
joint venture, voluntary or unincorporated associated, organization, proprietorship, trust,
estate, governmental agency, commission, bureau, or department

[iii]. As used hercin, the term "identification," "identify," or "identity" when used in reference
to (a) a natural individual, requires you to state his or her full name and residential and
business address, and his or her present or last known residence and business telephone
numbers; (b) a corporation, requires you to state its full corporate name and any names under
which it does business, its state of incorporation, the address of its principal place of
business, and the name and address of its registered agent for service of process within the
State of Tennessee', (c) a business, requires you to state the full name under which the
business is conducted, its business address, the types of businesses in which it is engaged,
and the identity of the person or persons who own, operate, and control the business,

[iv]. As used herein, the term "communication" means any oral or written utterance, notation,
or statement of any nature whatsoever, by and to whomever made, including but not limited
to, correspondence, conversations, dialogues, discussions, interviews, consultations,
agreements, and other understandings between or among two or more persons, by any means
or mode of conveying information, including but not limited to telephone, facsimile, any
broadcast media or any other form, whether written or spoken.

[v]. As used herein, the term "document" means any medium upon which information can
be recorded or retrieved, and includes, without limitation, the original and each copy,
regardless of origin and location, of any book, pamphlet, periodical, letter, memorandum,
invoice, bill, order forrn, receipt, financial statement, accounting entry, diary, calendar, telex,
facsimile, telegram, cable, report, record, contract, agreement, study, handwritten note, draft,
working paper, chart, paper, print, laboratory record, drawing, sketch, graph, index, list, tape,
photograph, inicrofilrn, data sheet, or any other written, recorded, transcribed punched,
taped, filmed, or graphic matter, however produced or reproduced, which is in your
possession, custody, or control, or which was, but is no longer, in your possession, custody
orconnol

[vil. As used herein, the word "or" appearing in an interrogatory should not be read so as to

eliminate any part of the interrogatory, but, wherever applicable, it should have the same
meaning as the word "and."

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[viil. With regard to the terms defined herein, all terms used in the singular shall include the
plural, and all terms used in the plural shall include the singular.

[viii]. lf any privilege is claimed with respect to any document or communication, identify
the document or communication and state the privilege claimed and the basis therefore

 

INTERROGATORIES

 

W: State the full name, address, employer, and job title of the
individual answering, or any individuals who participated in answering, these interrogatories and
request for production of documents

AN§WER;

INTERROGATORY NO. 22 With respect to any expert witnesses you intend to call at the
trial of this action, please identify said expert, state the subject matter upon which the expert is
expected to testify, and state the substance of the facts and opinion to which the expert is expected
to testify, and a summary of the grounds for each opinion In addition, please provide each
witnesses’s qualifications (including a list of all publications authored in the previous ten years), a
list of all other cases in which, during the previous four years, the witness testified as an expert, and

a statement of the compensation to be paid for the study and testimony in the case

AN WER:
l,"t'ff£&g,§ Z§§A] 03 z N ila ,§' lfyou contend that any person or entity other than you caused

or contributed to the injuries alleged in the Complaint, please identify each such person or entity and

state the factual basis of your contention

AN§WER;

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INT RR G 'I`O \IO. 41 Il` you asserted any affirmative defense(s) in your Answer to

the Complaint, please set for the factual basis for each and every affirmative defense raised.

AN §W!;R:

W: With regard to the claim(s) for benefits submitted by the

Plaintiff resulting from the March 6, 2011 automobile accident, state:

(a) l`he date you first received such a claim(s);

(b) lf you now take the position, or have ever taken the position, that no coverage is
afforded under your policy for the claim(s), please state the specific basis for each
denial, and identify what, if any, language in the policy supports such a denial;

(c) List and identify each and every document, recording, e~mail, telephonic
memorandum, note, or other document of any nature whatsoever which you have in
your possession concerning Plaintiff’ s claim(s) for uninsured/underinsured motorist
benefits, and for each such document state:

(i) the title of the document;
(ii) the author of the document;

(iii) the date of the document; and

(iv) the person who is the custodian of such document and that person's address
and telephone number.

ANSWER:

[NTERROGATORY NO. 6: With respect to all policies providing coverage to the Plaintiff
which are at issue in this lawsuit please state the inception and expiration dates of said policies

AN§WEB:

INTERROGATORY NO. 7: State the names ofall adjusters, claims personnel, physicians

claims managers, attomeys, or other personnel at any time employed or hired by you to handle, or

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participate in, the investigation and/or denial of Plaintift’ s benefits and/or claims resulting from the
March 6, 2011 automobile accident With respect to each such person, state with specificity:

(a) the capacity in which (s)he was employed or hired;

(b) the period of time (s)he was so employed or hired;

(c) whether (s)he is presently employed by you and in what capacity',

(d) his or her present or last known address;

(e) his or her present or last known employer; and

(f) what aspect of Plaintifi"s claim(s) that (s)he participated in
PLEA§E NQf[E THAT ELAINTIFF WILL QBJEQ l TQ THE INTRODQCTION OF ANY
TESTIMONY FROM WITNESSES NOT IDENTIFIED PURSUANT TO THIS
INTERROGATORY.

ANSWER:

INTERROGATORY NO. 82 Please state the specific instructions that were given to
officers, employees, agents, and attorneys, or any other persons involved iri the investigation ot` all
claims by the Plaintiff resulting from the accident on March 6, 2011, including all parties listed in
your Answer to Interrogatory 7, as to investigating evaluating, deiiying, adjusting, terminating

and/or reviewing claims

ANSWER:
INTERRQQAI QRY N(). 21 Please state the specific instructions which were given to

ot`ticers, employees, agents, and attorneys, or any other persons involved in the investigation ot'all
claims by the Plaintiff resulting from the accident on March 6, 201 l, as to communication(s`) in any
form or medium with the Plaintiff.

ANSWER:

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iMERRQQA;rQRy no ios Pi¢ase stare with specificity how long the instructions
referred to in your Answers to lnterrogatories 8 and 9 had been in effect:

a) prior to the denial of Plaintiffs benefits and/or claim(s) at issue; and

b) after the denial of Plaintiffs’ benefits and/or claim(s) at issue.

A SW R:

INTERROGATORY NO. 11: Please state the common policies, practices, and customs

ofNationwide in adjusting and evaluating claims involving bodily injury to the claimant(s).

ANSWEB:

LB_IEBBQ_QA_'[_Q_BX_§Q,_Q: Within the last five (5) years, and with regard to failure to
pay benefits and/or claims to your insureds, have you been accused or charged with:

(a) negligent or bad faith failure to investigate a claim or pay benefits and/or clairns;

(b) violation of the Tennessee Consumer Protection Act for failure to investigate a claim
or pay benefits and/or claims; and

(c) breach of contractfor failure to investigate a claim or pay benefits and/or claims

AE§WEB:

INTERROGATORY NO. 131 With respect to each claim referred to in your Answer to
Interrogatory No. l2, please state with Specificity:

(a) whether litigation was commenced against you based on your failure to investigate
or pay a clairrr,

(b') the name of the court wherein such litigation was commenced and the number and
caption of the case; and

(c) the disposition of the litigation regardless of whether suit was filed.

ANSWER:

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REQUEST FOR PRODUCTION OF DOCUMENTS

 

RE N . 1: Please produce a copy of each and every document or thing which
supports, substantiates, supplements, refutes or describes any of your responses to the preceding
Interrogatories.

ILE_S_MS_E=

M§I__NQ_._Z: Please produce, in its entirety, the Det`endant’s claims tile,
underwriting tile, any other tile and/or documents maintained or in the possession of Defendant’s
agents regarding the claim(s) resulting from the March 6, 2011 automobile accident, as well as any
and all other documents in Defendant’s possession or control, or in the possession or control of its
agents, employees and/or attorneys, relating to the insurance policy issued to the Plaintiff and which
is the subject matter of this litigation.

RE§PONSE:

RE§ !UEST NQ. 3: Please produce a copy of each and every document in the possession
or control of Defendant relating to the claim(s) made by Plaintiff resulting from the March 6, 201 l
automobile accident and Defendant’s evaluation of the claini(s) made by Plaintiff.

S Ni

B§Q §E§T NQ. i: Please produce a copy of all policies, rules, guidelines, regulations and

handbooks utilized by Defendant and its agents and employees which deal in any respect with the

receipts of claims, the evaluation of claims, the adjustment of claims, the investigation of claims

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and/or the payment of claims.

B_LSPQN§E:

&EQU_E§[_HQ_._S: lf you claim that any of the above requested documents are privileged
and therefore not subject to production, with respect to each such document, state:
(a) The exact nature of the privilege clairned;

(b) The nature of the document withheld under the alleged privilege (correspondence,
memoranda, recording, etc.);

(c) The identity of the party who authored the document and the party who received it;
and

(d) A detailed summary of the contents of the allegedly privileged document

RE ONSE:

Respectt`ully submitted,

BAILEY & GREER, PLLC

\/\/\to>/w Mae~ dar/M~
R. Sadler Bailey (#11230)
John Zuck (#26686)
Nicole Gibson Davison (#24442)
6256 Poplar Avenue
Memphis, 'I`N 381 19
Phone: (901) 680-9777
Fax: (901) 680-0580

 

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